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 6 Attorneys for Plaintiff
   United States of America
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 8
                               IN THE UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                        CASE NO. 2:17-CR-00053-JAM
12                              Plaintiff,            STIPULATION AND ORDER REGARDING
                                                      BRIEFING SCHEDULE ON DEFENDANT’S
13                        v.                          MOTION FOR REDUCTION IN SENTENCE AND
                                                      COMPASSIONATE RELEASE
14   JEFFREY REILLEY,
15                             Defendant.
16

17                                                STIPULATION
18         1.     Defendant Jeffrey Reilley filed a motion for compassionate release on July 16, 2020.
19 Docket No. 293. The government’s opposition or response is currently due on July 24, 2020. Docket

20 No. 295.

21         2. Counsel for the defendant does not oppose this request.
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 1          2.     The parties desire additional time for briefing on defendant’s motion. Accordingly, by

 2 this stipulation, the parties now move that:

 3                 a)      The government’s opposition or response to defendant’s motion, Docket No. 293,

 4 be due on July 31, 2020; and

 5                 b)      The defense reply, if any, will be due on August 7, 2020.

 6

 7          IT IS SO STIPULATED.

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                                                          McGREGOR W. SCOTT
 9                                                        United States Attorney
10   Dated: July 21, 2020
                                                          /s/ Kevin C. Khasigian
11                                                        KEVIN C. KHASIGIAN
                                                          Assistant United States Attorney
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13
     Dated: July 21, 2020                                /s/ John Balazs
14                                                       JOHN BALAZS
                                                         Counsel for Defendant Jeffrey Reilley
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 1                                         FINDINGS AND ORDER

 2         Based upon the stipulation and representations of the parties, the Court adopts the proposed

 3 revised briefing schedule as follows:

 4                 a)     The government’s opposition or response to defendant’s motion, Docket No. 293,

 5 is due on July 31, 2020;

 6                 b)     The defense reply, if any, will be due on August 7, 2020.

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           IT IS SO ORDERED.
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10 DATED: July 22, 2020                                 /s/ John A. Mendez________________________
                                                        HONORABLE JOHN A. MENDEZ
11                                                      UNITED STATES DISTRICT COURT JUDGE
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